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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-CV-14102-MIDDLEBROOKS

    DONALD J. TRUMP,

          Plaintiff,

    V.

    HILLARY R. CLINTON, et al.,

           Defendants.
    - - - - - - - - - - - - - - - - -I
                         ORD ER STRIKING MOTION TO INTERVENE

           THIS CAUSE comes before the Court on non-party Jimmy Smith's Motion to Intervene,_

    filed on May 3, 2022. (DE 119). The Motion quotes language from Federal Rule of Civil Procedure

    24, but it does not state who Jimmy Smith is or why he has any interest in this litigation.

    Accordingly, it is ORDERED AND ADJUDGED that Mr. Smith's Motion (DE 119) is

    STRICKEN.

           SIGNED in Chambers at West Palm Beach, Florida this .Z:--da




                                                                   d M. Middlebrooks
                                                              United States District Judge
    cc:    Counsel of Record
